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Information to identify the case:
Debtor 1              Michael S Zein                                                    Social Security number or ITIN         xxx−xx−3479
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2              Lisa M Zein                                                       Social Security number or ITIN         xxx−xx−2945
(Spouse, if filing)
                      First Name   Middle Name     Last Name                            EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Oklahoma
                                                                                        Date case filed for chapter 7 11/6/18
Case number:          18−12247−M


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 11/6/18.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Michael S Zein                                      Lisa M Zein

2.      All other names used in the aka Michael Shawn Zein, aka Mike S Zein, aka Mike                aka Lisa Marie Zein, aka Lisa Zein
        last 8 years                Zein, aka Mike Shawn Zein

3.     Address                               1040 Ridge Oak Rd                                       1040 Ridge Oak Rd
                                             Sapulpa, OK 74066−8477                                  Sapulpa, OK 74066−8477

4.     Debtor's attorney                     Jeff Potts                                             Contact phone (918) 687−7755
                                             Jeff Potts Law Office                                  Email: jeffpottslawoffice@att.net
       Name and address                      1515 East Okmulgee
                                             Muskogee, OK 74403

5.     Bankruptcy trustee                    Karen Carden Walsh                                     Contact phone 918−587−3161
                                             Riggs, Abney, et al                                    Email: kwalshdocs@riggsabney.com
       Name and address                      502 West Sixth Street
                                             Tulsa, OK 74119
                                                                                                               For more information, see page 2 >
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Debtor Michael S Zein and Lisa M Zein                                                                                     Case number 18−12247−M


6. Bankruptcy clerk's office                      224 South Boulder Avenue, Room 105                          Office Hours:
                                                  Tulsa, OK 74103                                             Monday, Wednesday, Thursday,
    Documents in this case may be filed at this                                                               Friday 8:30 a.m. to 4:30 p.m.,
    address. You may inspect all records filed                                                                Tuesday 8:30 a.m. to 3:00 p.m.
    in this case at this office or online at
    www.pacer.gov.
                                                                                                              Court Website:
                                                                                                              www.oknb.uscourts.gov
                                                                                                              Contact phone 918−699−4000

7. Meeting of creditors                           December 4, 2018 at 01:30 PM                                Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a Room B04, 224 South Boulder
    questioned under oath. In a joint case,       later date. If so, the date will be on the court Avenue, Tulsa, OK 74103
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 2/4/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a
                                     motion asking the court to extend the deadlines in this notice. Consult an attorney
                                     familiar with United States bankruptcy law if you have any questions about your rights
                                     in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
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